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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA               §
                                       §
v.                                     §                              1:10cv24-HSO
                                       §                       1:08cr91-HSO-RHW-5
DERRELL McDOUGAL                       §

MEMORANDUM OPINION AND ORDER DENYING DEFENDANT DERRELL
    MCDOUGAL’S MOTION AND AMENDED MOTION TO VACATE,
 SET ASIDE, OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

        BEFORE THE COURT are the Motion [111] and Amended Motion [123] of

Defendant Derrell McDougal [“McDougal”] to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody, filed pursuant to 28 U.S.C. § 2255. The

Government has filed a Response [126]. After due consideration of the issues

presented, the record, and the relevant law, the Court is of the opinion that both

Motions [111], [123], should be denied.

                            I. PROCEDURAL HISTORY

        McDougal was charged in two of four counts contained in an Indictment [19].

Specifically, Count 1 alleged that in or about November 2006, and continuing

through the date of the Indictment, McDougal and four other Defendants knowingly

and willfully conspired and agreed with each other and with others known and

unknown to the Grand Jury to knowingly and intentionally possess with intent to

distribute more than 50 kilograms of a mixture or substance containing a detectable

amount of marijuana, a Schedule I(c) non-narcotic drug controlled substance, as

prohibited by 21 U.S.C. § 841(a)(1), all in violation of 21 U.S.C. § 846. Count 4

charged that on or about July 2, 2008, McDougal and another Defendant, aided and
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abetted by each other and others known and unknown to the Grand Jury, did

knowingly and intentionally attempt to possess with intent to distribute more than

50 kilograms of a mixture or substance containing a detectable amount of

marijuana, a Schedule I(c) non-narcotic drug controlled substance, in violation of 21

U.S.C. § 846 and 18 U.S.C. § 2. See Indictment [19], at pp. 1-3. The Indictment

included a Notice of Forfeiture, pursuant to 21 U.S.C. § 853(p). See id. at pp. 3-4.

      McDougal pled guilty to Count 1 of the Indictment on October 27, 2008. The

Presentence Investigation Report [“PSR”] included both 156.4 kilograms of

marijuana and 10 kilograms of cocaine hydrochloride as relevant conduct. Based on

the Drug Equivalency Table, the 10 kilograms of cocaine hydrochloride were

converted to 2,000 kilograms of marijuana, making McDougal responsible for a total

of 2,156.4 kilograms of marijuana. This resulted in a base offense level of 32

pursuant to U.S.S.G. § 2D1.1. McDougal’s base offense level was increased by two

levels for his role in the offense, pursuant to U.S.S.G. § 3B1.1(c), and by another

two levels for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, resulting in a

total offense level 36, with a criminal history category of V.

      Pursuant to U.S.S.G. Chapter 5, Part A, based on a total offense level of 36

and a criminal history category of V, McDougal’s guideline imprisonment range was

292 to 365 months on Count 1. However, his guideline sentence was capped by the

20 year statutory maximum contained at 21 U.S.C. § 841(b)(1)(C). Under U.S.S.G.

§ 5G1.1(a), because the statutorily authorized maximum sentence was less than the

minimum sentence under the applicable guideline range, the statutorily authorized

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maximum sentence of 240 months became the guideline sentence.

      Prior to McDougal’s sentencing, his counsel filed an Objection [88] to the

PSR. It contested, among other things, the inclusion of the 10 kilograms of cocaine

in calculating the base offense level. See Obj. [88], at ¶ 4. McDougal’s counsel

maintained that the appropriate base offense level should be 26, based only on the

156.4 kilograms of marijuana, which would place McDougal in the 100 kilogram to

400 kilogram range for marijuana under the drug quantity tables. See id. at ¶ 2.

      At sentencing, the Court determined that the 10 kilograms of cocaine was

part of the conspiracy to which McDougal pled guilty. The Court overruled

McDougal’s objection, and included the cocaine in making its guideline calculations.

The Court sentenced McDougal to 240 months incarceration on Count 1, followed by

3 years of supervised release, a $3,000.00 fine, and a $100.00 special assessment.

Count 4 was dismissed on a Motion by the Government. The Court entered

Judgment [95] to this effect on January 21, 2009. McDougal timely filed his

original Motion [111] to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody, pursuant to 28 U.S.C. § 2255, on January 15, 2010. He filed his

Amended Motion [123] on May 27, 2010.

      McDougal seeks to withdraw his guilty plea. See Mot. [111], at p. 10. As

grounds for the relief sought, McDougal claims that he received ineffective

assistance of counsel, and thus unknowingly and unintelligently entered his guilty

plea. Am. Mot. [123], at p. 4. As part of his guilty plea, McDougal entered into a

Plea Agreement with the Government [the “Plea Agreement”], in which he


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specifically waived his right to seek post-conviction relief in this case, including a

Motion brought under 28 U.S.C. § 2255. See Plea Agreement, at ¶ 12. In its

Response, the Government seeks to enforce this waiver provision in the Plea

Agreement. See Govt.’s Resp., at p. 2.

                                    II. DISCUSSION

A.      Alleged Ineffective Assistance of Counsel

        McDougal alleges that the ineffective assistance of his counsel rendered his

guilty plea “involuntary and unintelligent.” See Am. Mot. [123], at p. 4. His

ineffective assistance claim relates to the Court’s inclusion of the 10 kilograms of

cocaine as relevant conduct in calculating his base offense level under the

sentencing guidelines. He does not contest the inclusion of the 156.4 kilograms of

marijuana. See id. McDougal asserts that his attorney

        was ineffective by leading [him] to enter into an unknowingly and
        unintellegently [sic] guilty plea. [His attorney] informed [him] that the
        prosecutor was intending on superceding an indictment involving 10
        kilograms of cocaine to accompany the charge [he] was currently facing
        which was conspiracy to possess 50 or more kilograms of marijuana with
        the intent to distribute. [His attorney] assured [him] that [he] would not
        be held accountable for “any” cocaine unless [he] was indicted for it. With
        this information, [he] plead [sic] guilty to count one of the indictment
        which was exactly 156.4 kilograms of marijuana. At sentencing [he] was
        held accountable for 2,000 additional kilograms of marijuana which was
        converted from 10 kilograms of cocaine that was attributed to [him] in
        [his] P.S.I. report. [He] objected to this because [he] was never charged
        nor indicted for any cocaine. Had [he] known cocaine would double [his]
        sentence, [he] would have went to trial.

Am. Mot., at ¶ 12(a).

        Although a guilty plea generally waives all non-jurisdictional defects,

including an ineffective assistance claim, McDougal may raise an ineffective

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assistance claim to the extent that it affected the voluntariness of his plea. See

United States v. Cavitt, 550 F.3d 430, 441 (5th Cir. 2008).

      Where, as here, a defendant is represented by counsel during the plea
      process and enters his plea upon the advice of counsel, the voluntariness
      of the plea depends on whether counsel’s advice was within the range of
      competence demanded of attorneys in criminal cases.

Hill v. Lockhart, 474 U.S. 52, 56 (1985) (quotation omitted).

      The United States Supreme Court has held that the two-part standard

applied in Strickland v. Washington, 466 U.S. 668 (1984), is applicable to ineffective

assistance claims arising out of the plea process. Hill, 474 U.S. at 57-58. A

defendant must therefore show (1) that counsel’s representation fell below an

objective standard of reasonableness, and (2) that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different. Id. at 57 (quoting Strickland, 466 U.S. at 687-88, 694).

      In this case, the Court finds it unnecessary to address the first prong of this

inquiry and resolve whether counsel’s representation fell below an objective

standard of reasonableness, because the Court concludes that McDougal’s

allegations are insufficient to satisfy the second prong of the Strickland and Hill

analysis, the requirement of “prejudice.” McDougal argues that, “[h]ad he known

cocaine would double [his] sentence, [he] would have went to trial.” McDougal does

not suggest, however, that he is innocent of the charge to which he pled guilty, or

that he would have been acquitted on this charge. Rather, he implies that his

sentence might somehow have been lessened if he had proceeded to trial and been

convicted. This argument is unavailing.

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       In order to satisfy the “prejudice” element, “the defendant must show that

there is a reasonable probability that, but for counsel’s errors, he would not have

pleaded guilty and would have insisted on going to trial.” Hill, 474 U.S. at 59. “The

test is objective; it turns on what a reasonable person in the defendant’s shoes

would do.” United States v. Smith, 844 F.2d 203, 209 (5th Cir. 1988). The

idiosyncrasies of the particular decision maker are disregarded. Hill, 474 U.S. at 60

(quoting Strickland, 466 U.S. at 695). McDougal’s conclusory statement that he

would have gone to trial if advised of the possible inclusion of the cocaine in

calculating the guidelines range is not sufficient to obtain the relief he seeks.

McDougal “must convince the court that a decision to reject the plea bargain would

have been rational under the circumstances.” Padilla v. Ky., - - U.S. - - -,130 S. Ct.

1473, 1485 (2010) (citing Roe v. Flores-Ortega, 528 U.S. 470, 480 (2000)).

       “In many guilty plea cases, the ‘prejudice’ inquiry will closely resemble the

inquiry engaged in by courts reviewing ineffective-assistance challenges to

convictions obtained through a trial.” Hill, 474 U.S. at 59. In conducting this

prejudice inquiry, the Fifth Circuit has explained that a court must consider

whether counsel’s deficient performance caused the outcome to be unreliable or the

proceeding to be fundamentally unfair. Armstead v. Scott, 37 F.3d 202, 207 (5th

Cir. 1994) (citing Lockhart v. Fretwell, 506 U.S. 364 (1993)). “Unreliability or

unfairness does not result if the ineffectiveness of counsel does not deprive the

defendant of any substantive or procedural right to which the law entitles him.” Id.

(quoting Fretwell, 506 U.S. at - - - , 113 S. Ct. at 844).


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      McDougal has presented no defense to the charge contained in Count 1, nor

has he alleged or demonstrated how a sentence he would have received following a

conviction at trial on Count 1 would have been any less than it was following his

plea. The Court is not persuaded that McDougal would have been acquitted on

Count 1 of the indictment or, if convicted, that he would have received a shorter

sentence. After conviction by either a jury verdict or a plea, the drug quantity

calculations under the sentencing guidelines would have remained the same. Thus,

there was no “prejudice” to McDougal under Strickland. See Hill, 474 U.S. at 60

(finding no “prejudice” under Strickland, and explaining that “petitioner's mistaken

belief that he would become eligible for parole after serving one-third of his

sentence would seem to have affected not only his calculation of the time he likely

would serve if sentenced pursuant to the proposed plea agreement, but also his

calculation of the time he likely would serve if he went to trial and were

convicted.”); see also Padilla, 130 S. Ct. at 1485 & n.12 (recognizing that

“[s]urmounting Strickland’s high bar is never an easy task,” and noting that “it is

often quite difficult for petitioners who have acknowledged their guilt to satisfy

Strickland’s prejudice prong”).

      Moreover, had McDougal gone to trial, he would have faced the potential of

an additional conviction on Count 4 of the Indictment, which could have increased

the length of his sentence. Had McDougal been convicted at trial on both counts

against him, the Court could conceivably have imposed consecutive sentences to the

extent necessary to achieve appropriate punishment. See App. Note 1 to U.S.S.G. §


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5G1.2. In sum, the record does not support the conclusion that a decision to reject

the Plea Agreement would have been rational under the circumstances McDougal

faced. See Padilla, 130 S. Ct. at 1485.

      As for the alleged promise by his attorney that he would “not be held

accountable for ‘any’ cocaine unless [he] was indicted for it,” Am. Mot., at ¶ 12(a),

the Plea Agreement specifically advised McDougal that the Court had the authority

to sentence him up to the maximum penalty provided by statute, and McDougal

“acknowledged that he [wa]s not relying upon anyone’s calculation of a particular

Guideline range.” Plea Agr. ¶ 6. During his change of plea hearing, McDougal also

acknowledged under oath that the sentence imposed by the Court might be different

from any estimate given to him by his attorney, and that the Court, in its

discretion, could sentence him up to the maximum prison sentence provided by

statute, which the Court advised him could be a term of imprisonment of not more

than 20 years.

      Finally, McDougal acknowledged in his Plea Agreement, and orally under

oath at the change of plea hearing, that the Court would resolve any factual issues

regarding his sentencing under a preponderance of the evidence standard, and that

it could consider any relevant evidence, without regard to its admissibility under

the rules of evidence applicable at trial. See Plea Agreement, at ¶ 12; see also Fed.

R. Evid. 1101(d)(3) (Federal Rules of Evidence, other than with respect to privileges,

do not apply in sentencing). At the sentencing hearing, after receiving extensive

testimony and evidence, the Court considered McDougal’s objection regarding


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inclusion of the 10 kilograms of cocaine in the guideline calculations, and

determined, by a preponderance of the evidence, that this was part of the

conspiracy to which McDougal pled guilty.

        Because McDougal has failed to demonstrate the kind of “prejudice”

necessary to satisfy the second half of the Strickland test, McDougal’s ineffective

assistance of counsel claim fails. The Court further finds that the alleged

ineffectiveness of counsel did not deprive McDougal of any substantive or

procedural right to which the law entitles him, such that any unreliability or

unfairness resulted. The Court concludes that McDougal has not shown an

entitlement to relief under § 2255 on this claim.

B.      Length of Sentence

        Though not specifically raised in his Amended Motion, the Court, out of an

abundance of caution, will consider any objection McDougal asserted in his original

Motion regarding the length of the sentence the Court imposed. To the extent that

McDougal alleges in his original Motion that the Court “was unfair in sentencing

McDougal for drugs not charged, nor admitted to,” Mot. [111], at p. 6, the Court

concludes that this claim provides no basis for § 2255 relief.

        First, it is routinely recognized that the technical application of the

guidelines does not give rise to a constitutional issue cognizable under § 2255. See

United States v. Segler, 37 F.3d 1131, 1134 (5th Cir. 1994). Even if this issue could

be considered on collateral review, the record reveals that McDougal’s guilty plea

was knowing and voluntary, as discussed earlier. In his Plea Agreement, McDougal


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waived his right to appeal the conviction and sentence imposed, or the manner in

which the sentence was imposed, on the grounds set forth in 18 U.S.C. § 3742, or on

any ground whatsoever. See Plea Agreement, at ¶ 12. McDougal further waived

his right to contest the conviction and sentence, or the manner in which the

sentence was imposed, in any post-conviction proceeding, including but not limited

to a § 2255 motion. See id. McDougal can point to no evidence in the record that

his explicit waiver in the written Plea Agreement, which was signed by McDougal

and his counsel, was not informed and voluntary. McDougal’s § 2255 Motion is

therefore also foreclosed by this specific waiver. See United States v. Hoctel, 154

F.3d 506, 508 (5th Cir. 1998) (citing United States v. Melancon, 972 F.2d 566, 567

(5th Cir. 1992)).

      Finally, even if the Court considered McDougal’s argument on its merits, the

Court is of the opinion that McDougal is not entitled to § 2255 relief. As discussed

above, the Court determined that the 10 kilograms of cocaine was part of the

conspiracy to which McDougal pled guilty. The cocaine and marijuana were

substantially connected. See United States v. Ortiz, 613 F.3d 550, 557 (5th Cir.

2010) (stating that relevant conduct is defined as “all acts and omissions” that were

either (1) part of a “common scheme or plan” or (2) part of the “same course of

conduct” as the offense of conviction) (quoting U.S.S.G. § 1B1.3(a)(2)). They were

part of the same ongoing series of offenses, with common accomplices, common

purposes, and similar modus operandi. See id. (“An unadjudicated offense may be

part of a ‘common scheme or plan’ if it is ‘substantially connected to [the offense of


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conviction] by at least one common factor, such as common victims, common

accomplices, common purpose, or similar modus operandi.’”) (quoting United States

v. Rhine, 583 F.3d 878, 885 (5th Cir. 2009)).

      The Court therefore properly overruled McDougal’s objection to the PSR’s

inclusion of the cocaine. See id.; United States v. Rangel, 149 F. App’x 254, 2005

WL 2285213 (5th Cir. 2005) (holding district court did not err by including amount

of cocaine as relevant conduct to possession with intent to distribute 771 grams of

marijuana charge, when cocaine charge had been dismissed after plea, because

district court determined that defendant’s possession of cocaine and marijuana were

part of a “common scheme or plan”); see also United States v. Wittie, 25 F.3d 250,

253 (5th Cir. 1994) (noting that district court included cocaine in relevant conduct,

over both the defendant’s and the Government’s objections, to determine

defendant’s base offense level for sentencing after plea to substantive count of

aiding and abetting possession with intent to distribute marijuana); United States

v. McIlwain, 32 F. App’x 128, 2002 WL 334925, *1 (5th Cir. 2002) (affirming district

court’s inclusion of cocaine as well as marijuana in defendant’s base offense level, on

charge of possession with intent to distribute less than 100 kilograms of marijuana).

In short, to the extent McDougal contests the inclusion of the cocaine in the

guideline calculations, his § 2255 claim fails.

                                 III. CONCLUSION

      The record demonstrates that McDougal’s plea was knowing and voluntary.

For the reasons stated herein, the Court finds that McDougal’s Motion [111] and


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Amended Motion [123] to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody, filed pursuant to 28 U.S.C. § 2255, should be denied without an

evidentiary hearing.

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, the Motion

[111] and Amended Motion [123] to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody, filed by Defendant Derrell McDougal pursuant to 28

U.S.C. § 2255, should be and hereby are DENIED.

      SO ORDERED AND ADJUDGED, this the 4th day of November, 2010.


                                      s/ Halil Suleyman Ozerden
                                      HALIL SULEYMAN OZERDEN
                                      UNITED STATES DISTRICT JUDGE




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